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 8                                 UNITED STATES DISTRICT COURT

 9                                         DISTRICT OF NEVADA

10

11    JOSEPH PEREZ,                                      Case No. 2:18-cv-02077-KJD-VCF
12                        Petitioner,                    ORDER
13            v.
14    ATTORNEY GENERAL OF THE STATE
      OF NEVADA,
15
                          Respondent.
16

17           Petitioner having filed an unopposed motion for extension of time (first request) (ECF No.

18   47), and good cause appearing;

19           IT THEREFORE IS ORDERED that petitioner's unopposed motion for extension of time

20   (first request) (ECF No. 47) is GRANTED. Petitioner will have up to and including January 28,

21   2022, to file a reply in support of his petition.

22           DATED: November 30, 2021
23                                                               ______________________________
                                                                 KENT J. DAWSON
24                                                               United States District Judge
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